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       United States Court of Appeals
                               for the
                      Second Circuit
                                


    BUZZFEED, INC.,

                                               Plaintiff-Appellant,
                                  -v.-

    UNITED STATES DEPARTMENT OF JUSTICE,

                                               Defendant-Appellee.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
    SOUTHERN DISTRICT OF NEW YORK (NEW YORK CITY)

                      APPELLANT’S BRIEF

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                 CORPORATE DISCLOSURE STATEMENT

      Plaintiff-Appellant is BuzzFeed, Inc. BuzzFeed, Inc. is a privately owned

corporation and a media organization. Ten percent or more of BuzzFeed’s stock is

owned by NBCUniversal Media LLC, a wholly owned subsidiary of Comcast

Corporation, which is publicly traded.




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                  I.       JURISDICTIONAL STATEMENT

      This case was brought under the Freedom of Information Act, 5 U.S.C. §

552(a)(6)(C)(i), and presents a federal question conferring jurisdiction on the

District Court. Venue was proper under 5 U.S.C. § 552(a)(4)(B).

      This Court has jurisdiction to review this appeal pursuant to 28 U.S.C. §

1291. This appeal is taken from a final judgment entered by a District Court

within the Southern District of New York on June 21, 2022. Plaintiff filed a timely

notice of appeal on August 18, 2022.

                         II.     ISSUES PRESENTED
      1.     Under the Perlman factors, is sexual harassment sufficiently serious,

and is the name of the offending Justice Department official sufficiently related to

government activity, to support disclosure under the Freedom of Information Act?

      2.     Even if not, is the privacy invasion warranted under Exemption 7(C)

given the high rank of the offending official and the strength of the evidence of

wrongdoing?

                  III.         STATEMENT OF THE CASE

      After discovering a redacted DOJ Inspector General Report finding sexual

harassment by a Justice Department Executive Officer, BuzzFeed requested release

of the offending official’s name under FOIA and filed this suit in response to DOJ’s

denial. BuzzFeed Inc. v. U.S. Dep’t of Justice, No. 21-cv-7533, 2022 WL 2223124,




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at **1-2 (S.D.N.Y. June 20, 2022) (Koeltl, J.). The District Court granted summary

judgment to the government under FOIA Exemption 7(C). Id. at *8; 5 U.S.C. §

552(b)(7)(C) (exempting from disclosure information that “could reasonably be

expected to constitute an unwarranted invasion of personal privacy.”).

                IV.       SUMMARY OF THE ARGUMENT
      Applying this Court’s Perlman factors, the District Court held that the

invasion of privacy to a Justice Department Executive Officer who engaged in

repeated acts of workplace sexual harassment and other misconduct outweighs the

public’s interest in knowing who he is. The Court should reverse because contrary

to the District Court’s ruling, the misconduct was serious and the identity of the

offending official sheds sufficient light on the activities of government. Even if the

Court disagrees, however, the privacy invasion is not unwarranted based on the high

rank of the official and the strength of the evidence of misconduct.

                             V.       ARGUMENT
      A.     Standard of review.

      This Court reviews a District Court’s summary judgment decision in a FOIA

case de novo. E.g. Am. C.L. Union v. Nat’l Sec. Agency, 925 F.3d 576, 588 (2d Cir.

2019).




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      B.     The Perlman factors.

      FOIA establishes a “default rule in favor of Government disclosure,” and is

intended to “permit access to official information long shielded unnecessarily from

public view.” Id. (citation and quotation omitted).

      This Court held in Perlman v. U.S. Department of Justice that “[i]n balancing

a government employee’s privacy interests against the public’s interest in disclosure,

a court should consider several factors, including: (1) the government employee’s

rank; (2) the degree of wrongdoing and strength of evidence against the employee;

(3) whether there are other ways to obtain the information; (4) whether the

information sought sheds light on a government activity; and (5) whether the

information sought is related to job function or is of a personal nature.” 312 F.3d

100, 107 (2d Cir. 2002), cert. granted, judgment vacated sub nom. Perlman v. U.S.

Dep’t of Just., 541 U.S. 970 (2004). “The factors are not all inclusive, and no one

factor is dispositive.” Id.

      C.     The degree of wrongdoing found by the Inspector General is
             serious.

      The District Court, citing DOJ’s FOIA officer, held that the wrongdoing “did

not rise to the level of more serious misconduct.” BuzzFeed, 2022 WL 2223124, at

*5.   That characterization of sexual harassment generally, and the specific

harassment here, was wrong and should be reversed. This Court should hold that




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sexual harassment in violation of agency policies is serious wrongdoing under the

Perlman factors.

      The Inspector General’s Report describes the misconduct in detail. On three

separate occasions, the offending official made comments about a female

employee’s appearance, including the way “her body shape looked in the outfit she

was wearing” and that “I really like women with long hair . . . I’m a long hair type

of guy.” JA-019, JA-024-25. The Inspector General also found that the offending

official kissed another subordinate on the lips in the workplace without her consent,

made inappropriate comments about her appearance, and explicitly referred to her

gender when discussing whether she was capable of serving in a vacant position.

JA-031-033. Not surprisingly, the Inspector General found that this violated DOJ

policies against unwelcome conduct based on sex that “explicitly or implicitly

affects an individual’s employment; unreasonably interferes with an individual’s

work performance; or creates an intimidating, hostile, or offensive work

environment.” JA-022, JA-024-025, JA-033.

      In addition to these acts of sexual harassment, the Inspector General found

that the offending official engaged in conduct that “created the appearance of

potential violations of federal regulations regarding use of official time, acceptance

of gifts from employees, and use of public office for private gain” when he

“permitted” an employee to get his personal car washed for him during a lunch hour,



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and also “exhibited poor judgment when, on six occasions, he asked a subordinate

to drive him somewhere on purely personal business.” JA-025-031.

      Rather than face the consequences of his sexual harassment and other

misconduct, the offending official retired. JA-015.

      BuzzFeed is confident that the Court will find it self-evident that sexual

harassment is sufficiently serious to weigh in favor of disclosure of the identity of

the offending official. If the Court feels that more is necessary, however, it need

only look to the Justice Department’s own sexual harassment policies. Under those

policies, sexual harassment is so serious as to be subject to “zero tolerance.” JA-

022 . That is because “substantiated incidents of sexual harassment are of serious

gravity and have a significant negative impact on the Department’s ability to execute

its mission.” Lee J. Lofthus, U.S. Dept of Justice, Memo. for Heads of Dep’t

Components Re: Sexual Harassment and Sexual Misconduct (April 30, 2018), at 3,

https://www.justice.gov/jmd/page/file/1059401/download.         Thus, the Deputy

Attorney General has instructed all Justice Department component heads, in

response to an earlier Inspector General report about sexual harassment, that it is an

“important responsibility” of DOJ to “be a leader in maintaining a model

workplace.” Rod J. Rosenstein, U.S. Dept of Justice, Memo. for Heads of Dep’t

Components Re: Sexual Harassment and Sexual Misconduct (April 30, 2018), at 1,

https://www.justice.gov/jmd/page/file/1059401/download. This is consistent with



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what is surely clear to any responsible employer in 2022: workplace sexual

harassment is very serious because of both the harm it causes to victims and the

impact it has on the workplace.

      Because the degree of misconduct was serious, the District Court erred by not

weighing this factor in favor of disclosure.

      D.     The misconduct was job-related and the identity of the offending
             Justice Department official would shed sufficient light on agency
             activities.

      The District Court also erred under the fourth and fifth factors. The fourth

factor looks to whether “the information sought sheds light on what the government

is doing.” Perlman, 312 F.3d at 108. The District Court acknowledged that the

relevant public interest under this factor is “holding the governors accountable to the

governed.” BuzzFeed, 2022 WL 2223124, at *6 (quoting Stern v. FBI, 737 F.2d 84,

91 (D.C. Cir. 1984)). But it weighed this factor against disclosure because it found

the name of the offending official did not “reflect on broader government activity.”

Id. The District Court relied on the same analysis to weigh the fifth factor (whether

the information is related to a job function) against disclosure even after

acknowledging that sexual harassment is “work related” and “related to [a]

superior’s job function.” Id. at *7 (citation and quotation omitted).

      This Court has not yet addressed the public interest in names of government

wrongdoers where the details of the wrongdoing and of any government




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investigation have been released. In Stern, however, the D.C. Circuit acknowledged

that there is public interest “in knowing who the public servants are that were

involved in the governmental wrongdoing” separate from the public interest in

understanding how the agency handled its investigation and any discipline. 737 F.2d

at 92 (emphasis in original); see also Prison Legal News v. Samuels, 787 F.3d 1142,

1151 (D.C. Cir. 2015) (“Identifying employees who repeatedly engage in tortious or

discriminatory conduct will shed light on an agency’s performance of its statutory

duties.” (quotation and citation omitted)). The Eleventh Circuit has similarly held

that redaction of the name of a high-ranking official who engaged in serious

misconduct was “inappropriate” because that information “is crucial to the public’s

interest in holding such officials accountable to the public and deterring others from

similar behavior.” Cochran v. United States, 770 F.2d 949, 956 n.9 (11th Cir. 1985).

      This Court should hold the same. The District Court should have weighed the

fourth and fifth factors in favor of disclosure, and certainly not against it.

      E.     Releasing the name of a high-ranking official found by the
             Inspector General to have engaged in repeated acts of sexual
             harassment is warranted.
      Because sexual harassment is serious job-related misconduct and the name of

the offending official sheds sufficient light on government activity, all of the

Perlman factors support disclosure and the name of the official should be released.




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      Even if the Court were to hold that sexual harassment is not sufficiently

serious misconduct or that the name of the offending official sheds too little light on

the activities of government, however, which it should not, this is not a case of

government officials cleared of wrongdoing or guilty only of minor infractions

unrelated to their job duties. Thus, at most, those factors are neutral, with the

remaining factors all supporting disclosure. That too is sufficient to reverse the

District Court and order the name released.

      Ultimately, no factor is dispositive, and the question under Exemption 7(C) is

whether the privacy invasion is “unwarranted.” 5 U.S.C. § 552(b)(7)(C); see also

Long v. Ofc. of Pers. Mgmt., 692 F.3d 185, 190 (2d Cir. 2012) (“FOIA exemptions

are construed narrowly, and a court is to resolve all doubts in favor of disclosure.”).

In Stern, the D.C. Circuit allowed (and only as a “close call”) the withholding of

names of lower-level employees who “were culpable only for inadvertence and

negligence” and ordered release of the name of an FBI Special Agent in Charge who

“participated knowingly” in “an effort to withhold information” from a GAO audit.

737 F.2d at 92-94. The offending official here is much more like the latter than the

former: he is a high-ranking official who knowingly engaged in sexual harassment

on repeated occasions that clearly violated Justice Department policies and,

according to those policies, put his office’s mission at risk. Therefore, any privacy

invasion resulting from that official’s own knowing misconduct is warranted.



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                          VI.       CONCLUSION

      For these reasons, the Court should reverse the District Court and remand with

instructions to order the release of the information and to permit a petition for

prevailing party attorney fees and costs under FOIA.

Dated: November 18, 2022

                                             Respectfully Submitted,

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               CERTIFICATE OF COMPLIANCE
   WITH TYPE-VOLUME LIMIT, TYPEFACE REQUIREMENTS, AND
                TYPE-STYLE REQUIREMENTS

      This brief complies with the type-volume limitation of Fed. R. App. P. 32

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                                                  Dated: November 18, 2022




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                           CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing Brief of Appellant

BuzzFeed Inc., with the Clerk of the Court for the United States Court of Appeals

for the Second Circuit by using the appellate CM/ECF system on November 18,

2022.

        All counsel of record in this case are registered CM/ECF users and will be

served by the appellate CM/ECF system.



                                                /s/ Matthew Topic
                                                Matthew Topic

                                                Counsel for Appellant BuzzFeed, Inc.

                                                Dated: November 18, 2022




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